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                               Financials
Fees, scholarships, loans, refund policy and more




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Home      Financials




                                   Tuition and Fees


 Tuition and fees are billed on a semester basis for students in Basic
 Sciences and in Clinical Sciences.

 Tuition and fees for students in Basic Sciences are due upon registration but no later than ﬁfteen
 days prior to the ﬁrst day of classes. Non-payment by the ﬁrst day of classes may result in
 registration being canceled.

 Tuition and fees are subject to change. Students with an outstanding balance are not eligible to
 register for the next semester without clearing up that outstanding balance to the satisfaction
 of the Financial Oﬃce. For students in both Basic Sciences and Clinical Sciences, a U.S. $100 late
 fee will be assessed if tuition and fees are not paid for on time.




 Clinical Sciences

 Tuition and fees for students in Clinical Sciences are due prior to registration and at least one
 month prior to the commencement of the semester and/or clinical rotation. Tuition and fees are
 charged for all clinical rotations. Students in Clinical Sciences will be billed for an entire semester
 regardless of the starting date as long as the student is anticipated to be in rotations.

 Additional charges may be due during fourth year if students choose elective rotations with
 costs exceeding the standard St. Matthew's University subsidy rate. Each student will pay a
 maximum of ﬁve clinical sciences semesters (given that no rotations were failed).




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Effective for matriculants on or after the September 2021 Semester
MD Program Basic Science Tuition per Semester (Semesters 1-5):            $16,302
Administrative Fee (Semesters 1-5):                                       $5,220
MD Program Clinical Medicine Tuition per Semester (Semesters 6-10):       $21,856
Administrative Fee (Semesters 6-10):                                      $3,594
Malpractice Insurance (Semesters 6-10):                                   $260
Student Health Insurance per Semester                                     $653
Part-Time Tuition per Credit Hour                                         $742
Part-Time Administrative Fee per Credit Hour                              $238
Transcript Request                                                        $10
Letter of Reference - ﬁrst 3 free, thereafter                             $10
Document copies up to 15 pgs (Over 15 pgs., $1 per page)                  $15
Leave of Absence Fee                                                      $500
Graduation Fee                                                            $500
Background Check Fee (Depending on the required extent of search)         $50-$250
Late Registration Fee                                                     $250
Late Payment Fee                                                          $100
Returned Check Fee                                                        $35
Non-Refundable Application Fee                                            $75
Cayman Entry Fee**                                                        $113
Seat Deposit                                                              $500




Effective for matriculants on or before the May 2021 Semester
Tuition per semester - Basic Sciences                                 $18,325
Tuition per semester - Clinical Sciences                              $23,250
Part-Time Tuition per Credit Hour                                     $915
Malpractice Insurance (Semesters 6-10):                               $260



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Health Insurance per Semester                                           $653
Transcript Request                                                      $10
Letter of Reference - ﬁrst 3 free, thereafter                           $10
Document copies up to 15 pgs (Over 15 pgs., $1 per page)                $15
Recreation Fee (Cayman Only)                                            $35
National Board Fee                                                      $500
Leave of Absence Fee                                                    $500
Graduation Fee                                                          $500
Background Check Fee (Depending on the required extent of search)       $50-$250
Late Registration Fee                                                   $250
Lab Fees                                                                $150-$250
White Coat Ceremony Fee                                                 $60
Late Payment Fee                                                        $100
Returned Check Fee                                                      $35
Information Technology Fee* (per semester)                              $100
Administrative Fee (Per semester)                                       $175
Non-Refundable Application Fee                                          $75
Cayman Entry Fee**                                                      $113
Seat Deposit                                                            $500
Review Materials (Fifth Semester)                                       $935

* Laptops are required for all students
** Cayman Island Government Fee

The tuition and fees listed above apply, on the one hand, to matriculants on or before the May 2021
semester and, on the other hand, to matriculants on or after the September 2021 semester as the
case may be. St. Matthew’s University School of Medicine Board of Trustees reserves the right to
change tuition and fees or to establish additional fees or charges whenever in their opinion such
action is deemed necessary.




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                                         Scholarships


       U.S. Academic Scholarship



       Canadian Scholarship Programs
                          ABOUT       MD PROGRAM        STUDENT EXPERIENCE           ADMISSIONS

                                                 NEWS     EVENTS        COVID-19   CONTACT US      
dent
 sumer Cayman Islands Scholarship                       Inquire today           Apply Now
rmation
                                       Program    Admissions    FAQ
       Jha Family Scholarship



       Forms and deadlines



       Scholarship recipients




                                  Financial Aid - Loans

                     U.S. Loans                                         Canadian Loans


     Types of Aid

     St. Matthew University School of Medicine’s M.D. program has been approved to participate in the
     William D. Ford Federal Direct Unsubsidized Stafford and Grad PLUS Loan programs which are both
     administered by the U.S. Department of Education.



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Additional information regarding these loan programs is available through the U.S. Department of
Education website at www.studentaid.gov.1


  How to Apply - School of Medicine



  Determining Your Eligibility



  Federal Direct Unsubsidized Stafford Loan


  This is a non-need based loan in which the student is responsible for the
  interest during all periods including times of enrollment and grace and
  deferment periods.

  You may decline all or a portion of the loan that is offered on the award letter. A student must
  notify the Oﬃce of Financial Aid in writing of any requests to decline this loan.


     1. Maximum annual loan amount: $20,500

     2. Fees: An origination fee of 1.057% will be deducted at the time of each disbursement.

     3. Interest rate: All loans ﬁrst disbursed after July 1, 2022 have a ﬁxed interest rate of
        6.54%. You may choose to pay the interest while you are in school. If you choose not to
        pay the interest while you are enrolled, it will be added to the unpaid principal amount of
        your loan (called capitalization).

     4. Grace period: There is a six month grace period following graduation, withdrawal, or
        drop below a half-time enrollment status. Principal payments may be deferred during the
        grace period.

     5. Repayment: Repayment of both the principal and interest will begin six months after
        graduation, withdrawal, or an enrollment status of less than half-time. There are several
        repayment plans available such as Standard, Graduated, Extended and Income-Based
        Repayment. Additional information on each plan, as well as loan consolidation and
        sample repayment charts, may be found on the U.S. Department of Education’s website
        at www.studentaid.gov.

     6. Aggregate Loan Limit: $138,500, of which no more than $65,500 may be in Federal
        Subsidized Stafford Loan funds. This aggregate limit includes all federal loans received
        for undergraduate study.


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7. Requirements:

        Entrance Counseling and Master Promissory Note (MPN): All ﬁrst time
        borrowers must complete the Federal Direct Stafford Loan Entrance Counseling
        and MPN before any funds may be disbursed to your student account. These
        requirements may be completed online at www.studentaid.gov. You will need your
        four digit Federal PIN to log on.
        Exit Counseling: Students who graduate, withdraw or drop below a half-time
        enrollment status are required to complete an exit interview. This counseling
        reviews your rights and responsibilities as a Federal Direct Stafford Loan borrower,
        as well as, the repayment, deferment, forbearance, and consolidation options
        available. You may complete this requirement via the U.S. Department of
        Education’s website at www.studentaid.gov.




                      Exhibit K Defendant US Federal Loans                         007
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Federal Direct Grad PLUS Loan


This is a loan available to students enrolled in a graduate program of study
to assist in paying for educational expenses.

  1. Eligibility: In addition to the general eligibility requirements above Grad PLUS Loan
     eligibility requirements include:

           Meet the general Federal ﬁnancial aid eligibility requirements
           Complete the FAFSA
           Not have adverse credit history (more information may be found on this at
           www.studentaid.gov)

  2. How to apply: Complete the online application at www.studentaid.gov.

  3. Maximum annual loan amount: Cost of attendance minus other ﬁnancial aid.

  4. Fees: An origination fee of 4.228% will be deducted at the time of each disbursement.

  5. Interest rate: All loans ﬁrst disbursed after July 1, 2022 have a ﬁxed interest rate of
     7.54% which will begin accruing from the ﬁrst date of disbursement.

  6. Repayment: Loan is placed in a deferment status while enrolled at least half-time and
     for an additional six months after you cease to be enrolled at least half-time. You are
     responsible for the interest during your periods of enrollment, grace and deferment.
     Several repayment plans are available and you may learn more about these, as well as
     repayment charts, online at www.studentaid.gov.

  7. Requirements:

           Entrance Counseling and Master Promissory Note (MPN): All ﬁrst time
           borrowers must complete the Federal Direct Grad PLUS Loan Entrance Counseling
           and MPN before any funds may be disbursed to your student account. These
           requirements may be completed online at www.studentaid.gov. You will need your
           four-digit Federal PIN to log on.
           Exit Counseling: Students who graduate, withdraw or drop below a half-time
           enrollment status are required to complete an exit interview. This counseling
           reviews your rights and responsibilities as a Federal Direct Grad PLUS Loan
           borrower, as well as, the repayment, deferment, forbearance and consolidation
           options available. You may complete this requirement via the U.S. Department of
           Education’s website at www.studentaid.gov.




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Disbursements


Most awards are disbursed in equal amounts each semester and are applied directly to the
student’s account. Disbursements are made once all required paperwork for the loan(s) has
been completed and semester enrollment conﬁrmed.

Any loan funds St. Matthew’s University receives in excess of the allowable semester charges
will be refunded to the student via a check.




                                 Refund policy




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All refunds will be made within thirty (30) days of the withdrawal date.
Before any refund can be initiated, a withdrawal form must be
completed and submitted to the Dean of Basic Science.

Basic Science tuition will be refunded according to the following schedule*:


Prior to the ﬁrst day of the semester                                              100%
During the ﬁrst week of the semester                                               93%
During the second week of the semester                                             87%
During the third week of the semester                                              80%
During the fourth week of the semester                                             No refund

Any student withdrawing from a clinical rotation, subsequent to assignment and acceptance, will not
be subject to a refund on tuition for that semester of rotation.

Any new applicant to St. Matthew's University requesting withdrawal within three days of payment of
the seat deposit to St. Matthew's shall receive a full refund of all tuition and fees paid.


* All fees, including the ﬁrst semester seat deposit fee of $500.00 and the $75.00 application fee, are
excluded from this refund policy and are not refundable after the ﬁrst three days' exemption as
previously described.


Other Charges

Students attending Basic Sciences in Grand Cayman will be billed monthly for miscellaneous charges.
Payment is due upon receipt of these invoices. Non-payment of accounts will result in the loss of
credit privileges on campus.




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                                      U.S. Admissions Oﬃce Address                           COVID-19
                                      12124 High Tech Ave. Ste. 290,                           News
                                             Orlando, FL 32817
                                                                                         Employment
                                                 EMAIL:
                                                                                             Downloads
                                             admissions@stmatthews.edu
                                                 SMS: +1 (857) 341-                          Contact us
                                             1470                                             Sitemap
                                                 PHONE: +1 800 498              Student consumer information
                                             9700
                                                                                         Privacy Policy

                                      Grand Cayman Campus Address
                                       Lime Tree Bay Ave, West Bay,
                                              Cayman Islands




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                           Exhibit K Defendant US Federal Loans                                           011
